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 9
                               IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                          SACRAMENTO DIVISION
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14   RALPH COLEMAN, et al.,                                    Case No. 2:90-cv-00520 KJM-DB (PC)

15                                           Plaintiffs,       DECLARATION OF ANDREW GIBSON
                                                               IN SUPPORT OF DEFENDANTS’ EX
16                  v.                                         PARTE APPLICATION TO STAY
                                                               PROCEEDINGS
17
     EDMUND G. BROWN JR., et al.,                              Judge:          The Honorable Kimberly J.
18                                                                             Mueller
                                           Defendants.
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21         I, Andrew M. Gibson, declare as follows:

22       1.      I am an attorney admitted to practice before the courts of the State of California and

23   this Court. I am employed by the California Attorney General’s Office as a Deputy Attorney

24   General in the Correctional Law Section. I am co-counsel for Defendants in this action. I am

25   competent to testify to the matters set forth in this declaration and, if called upon by this Court, I

26   would do so. I submit this declaration in support of Defendants’ Ex Parte Application to Stay

27   Proceedings.

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                                                           1
                         Gibson Decl. Supp. Defs.’ Ex Parte Appl. to Stay Proceedings (2:90-cv-00520 KJM-DB (PC))
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 1          2.   At 8:30 p.m. on October 3, 2018, I was forwarded a document authored by Michael

 2   Golding, M.D., the Chief Psychiatrist for the California Department of Corrections and

 3   Rehabilitation (CDCR), sent to the Receiver in Plata v. Brown regarding CDCR’s Mental Health

 4   Services Delivery System (MHSDS).

 5          3.   At 11:47 a.m. the following morning, October 4, 2018, I forwarded the document to

 6   Plaintiffs’ counsel. I am informed and believe that the Special Master received a copy that same

 7   day.

 8          4.   Dr. Golding makes allegations concerning various aspects of CDCR’s MHSDS that

 9   potentially impact the evidence that Defendants were preparing to present at the evidentiary
10   hearing currently scheduled to begin on October 15, 2018. The allegations also potentially
11   impact other pending matters related to staffing, including matters the Court intended to discuss at
12   the October 15, 2018 status conference. Among other things, the document authored by Dr.
13   Golding, which is 160-pages long and includes approximately 60 referenced exhibits, questions
14   the methodology through which CDCR calculates multiple mental-health compliance figures and
15   data points and alleges that psychiatrists under Dr. Golding’s leadership are not seeing patients as
16   reported in the data tracking system.
17          5.   Dr. Golding includes references to confidential inmate medical information, and
18   Defendants have not attached the document or detailed its contents in their ex parte application.
19   Defendants are willing to submit the document and attachments to the Court for in camera review
20   upon request.

21          6.   Given the potential impact of the allegations on multiple issues before the Court,

22   including issues that will be addressed at the upcoming evidentiary hearing, Defendants request a

23   stay of the October 15, 2018 evidentiary hearing and all related filing deadlines. Instead,

24   Defendants propose that the Court set a status conference for October 15, 2018 so that the parties

25   and Special Master, with the Court’s guidance, may discuss how best to address the allegations.

26          7.   Upon providing Dr. Golding’s allegations to the Special Master and Plaintiffs’

27   counsel, Defendants informed them of their intention to file an ex parte application to stay

28   proceedings. On October 4, 2018, Plaintiffs’ counsel stated that they would not agree to postpone
                                                    2
                        Gibson Decl. Supp. Defs.’ Ex Parte Appl. to Stay Proceedings (2:90-cv-00520 KJM-DB (PC))
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 1   the October 15, 2018 hearing. Defendants move ex parte and have not sought to notice this

 2   motion on the Court’s law and motion calendar because the matter would not be heard prior to the

 3   upcoming October 15, 2018 hearing through a regular noticed motion.

 4       8.        If the Court is not inclined to continue the evidentiary proceedings, Defendants

 5   request a short extension of time—from October 8, 2018 to October 10, 2018—to file the parties’

 6   joint exhibit and witness list and proposed hearing schedule.

 7            I declare under penalty of perjury that the foregoing is true and correct to the best of my

 8   knowledge and that this declaration was executed on October 5, 2018 in San Diego, California.

 9                                                             /s/ Andrew M. Gibson
                                                               ANDREW M. GIBSON
10                                                             Deputy Attorney General
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